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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                       :
UNITED STATES OF AMERICA,              :               19cr716 (DLC)
                                       :
               -v-                     :             OPINION AND ORDER
                                       :
GEORGIOS NIKAS, a/k/a “George Nikas,” :
and TELEMAQUE LAVIDAS,                 :
                          Defendants.  :
                                       :
---------------------------------------X

APPEARANCES:

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DENISE COTE, District Judge:

     On October 7, 2019, defendant Telemaque Lavidas (“Lavidas”)

was indicted for conspiracy, securities fraud, and wire fraud in

connection with his alleged participation in an insider trading
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scheme involving the securities of Ariad Pharmaceuticals, Inc.

(“Ariad”).    The indictment charges Lavidas with committing these

crimes with his close friend Georgios Nikas (“Nikas”). 1         Nikas, a

Greek citizen, remains at large.

     Through a motion in limine filed on December 11, 2019,

Lavidas seeks to exclude statements made by Nikas to his close

friend and their alleged co-conspirator, Marc Demane Debih

(“Demane”).    Demane will be a Government witness at the trial,

which is scheduled to begin on January 6, 2020.         The Government

cross-moved on December 11 to admit these statements by Nikas to

Demane.   The motions were fully submitted on December 16. 2

Through an Order of December 20, the Court ruled that the

statements would be admitted pursuant to Rule 804(b)(3), Fed. R.

Evid. (“Rule 804(b)(3)”).     The reasons for that ruling are set

forth below.

                               Background

     The indictment alleges that Lavidas provided Nikas with

material nonpublic information about Ariad on three occasions in


1 A superseding indictment was returned on November 25, 2019.
Nikas also is charged with crimes related to an additional
insider scheme in which Lavidas is not alleged to have
participated.

2 Both Lavidas and the Government filed other motions in limine,
as well. These motions were ruled on at a December 19, 2019
final pretrial conference. The grounds for those rulings were
stated on the record. At the conference, the Court heard the
parties’ arguments on the instant motion and reserved judgment.


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2013 and on one occasion in 2015, and that Nikas profitably

traded on these tips.       The first time that Nikas allegedly

traded on inside information about Ariad was in late June 2013.

Lavidas’s father was a corporate director of Ariad and,

according to the indictment, the source of Lavidas’s tips to

Nikas.

     To establish that Lavidas was the source of Nikas’s Ariad-

related inside information, the Government seeks to elicit

testimony at trial from Demane.         Demane was a Swiss trader who

had been providing Nikas with inside information since 2010 or

2011.    The Government expects Demane to testify that, in 2011,

Nikas told Demane that Nikas was privy to inside information

about Ariad from Lavidas and Lavidas’s father.

     An F.B.I. 302 report, which was provided to the defense as

Jencks Act material pursuant to 18 U.S.C. § 3500, relates the

substance of the Government’s October 31, 2019 interview with

Demane (the “302”).       As reflected in the 302, Demane, Nikas, and

Lavidas attended the same dinner party with eight or nine others

in 2011.     At this dinner, Nikas introduced Demane to Lavidas.

This may be the only time that Demane met Lavidas.

     At some point that same evening, but after the dinner,

Nikas told Demane that Nikas “was calling” both Lavidas and

Lavidas’s father to get information about Ariad.            Nikas added

that “if there was something happening at Ariad, they would know


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because [] Lavidas’s father was on the board of directors of

Ariad.”   Demane also stated that Nikas told him that Nikas “gave

money” to Lavidas, but he did not mention an amount. 3

     According to the Government, while Demane tipped Nikas

about many stocks, Ariad is the only company about which Nikas

provided Demane with inside information.        The Government alleges

that Demane traded in Ariad securities on two occasions using

inside information that he received from Nikas.         At trial, the

Government intends to present evidence of Demane’s trading

records, as well as the trading records of eight other sets of

traders who are alleged to have profitably traded in Ariad after

receiving tips from Nikas on one or more of the four occasions

on which it asserts that Lavidas tipped Nikas about Ariad.

                               Discussion

    The Government argues that Nikas’s statements to Demane are

admissible pursuant to Rule 804(b)(3). 4      Rule 804(b)(3) provides




3 Lavidas reads the 302 about Demane’s statements as indicating
that Nikas told Demane at the 2011 dinner that he had previously
given money to Lavidas. At the December 19, 2019 final pretrial
conference, the Government asserted that Demane had represented
that Nikas told Demane after the 2011 dinner that Nikas had
given money to Lavidas. This dispute on the timing of the
payments does not change the admissibility analysis set forth
below.

4 Because the statements from Nikas to Demane are admissible
pursuant to Rule 804(b)(3), it is unnecessary to consider
whether they are also admissible as co-conspirator statements,
as the Government contends.


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that the hearsay rule does not exclude evidence of a statement

against an unavailable declarant’s penal interest if the

statement is one that:

    (A)   a reasonable person in the declarant’s position would
          have made only if the person believed it to be true
          because, when made, it . . . had so great a tendency .
          . . to expose the declarant to . . . criminal
          liability; and
    (B)   is supported by corroborating circumstances that
          clearly indicate its trustworthiness, if it is
          offered in a criminal case as one that tends to
          expose the declarant to criminal liability.
Fed. R. Evid. 804(b)(3).     This Rule is founded on the

“commonsense notion” that “reasonable people, even reasonable

people who are not especially honest, tend not to make self-

inculpatory statements unless they believe them to be true.”

United States v. Gupta, 747 F.3d 111, 127 (2d Cir. 2014)

(citation omitted).

     The “threshold question[]” of a Rule 804(b)(3) analysis is

whether the declarant’s statement would be “perceived by a

reasonable person in the declarant’s shoes to be detrimental to

his or her own penal interest.”      United States v. Ojudun, 915

F.3d 875, 885 (2d Cir. 2019) (citation omitted).         This question

is to be answered “in light of all the surrounding

circumstances.”   Gupta, 747 F.3d at 127 (citation omitted).

“The proffered statement need not have been sufficient, standing

alone, to convict the declarant of any crime, so long as it




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would have been probative in a criminal case against him.”             Id.

(citation omitted).    Statements are contrary to a person’s penal

interest if they expose that person to criminal liability “for

trading on the basis of inside information.”        Id. at 128.

     If a court finds that the statement is against the

declarant’s penal interest, “the court must then determine

whether there are corroborating circumstances that clearly

indicate . . . both the declarant’s trustworthiness and the

truth of the statement.”     Ojudun, 915 F.3d at 887 (citation

omitted).   “For those conditions to be satisfied, the inference

of trustworthiness from the proffered corroborating

circumstances must be strong, not merely allowable.”          Id.

(citation omitted).    A declarant may be deemed unreliable if he

has made multiple contradictory statements.        United States v.

Lumpkin, 192 F.3d 280, 287 (2d Cir. 1999).        A declarant’s

statements may be deemed trustworthy when they are uttered to “a

person whom the declarant believe[s] [is] any ally” and when the

declarant does not “appear to have been attempting to shift

criminal culpability from himself.”       United States v. Dupree,

870 F.3d 62, 80 (2d Cir. 2017) (citation omitted).         As explained

by the Second Circuit,

     a statement incriminating both the declarant and the
     defendant may possess adequate reliability if the
     statement was made to a person whom the declarant
     believes is an ally, and the circumstances indicate
     that those portions of the statement that inculpate


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     the defendant are no less reliable than the self-
     inculpatory parts of the statement.

Gupta, 747 F.3d at 127 (citation omitted).        In the context of

insider trading, the Court of Appeals has found that movement in

a stock price constitutes a “corroborating circumstance[]” that

indicates the truth of a statement.       Id. at 128-29.

     The 2011 statements by Nikas to Demane regarding Lavidas

are admissible as statements against penal interest.          There is

no serious dispute that Nikas’s statements to Demane are

sufficiently inculpatory to be statements against Nikas’s penal

interest.   There also is no dispute that Nikas’s statements to

Demane that Nikas gave money to Lavidas are against Nikas’s

penal interest. 5   The parties hotly contest, however, whether

there is sufficiently strong corroboration of the truth of these

statements and of Nikas’s trustworthiness to allow admission of

the conversation pursuant to Rule 804(b)(3).

     The Government’s proffer of the corroborating evidence it

will offer at trial satisfies its burden of showing that Nikas’s

statements are sufficiently reliable to be admitted.          That

corroboration includes the following.       Nikas and Demane were

close friends, and had been so for years at the time of the

conversation.   At the time of the conversation, they had also




5 Additionally, there is no dispute that Nikas is unavailable.
He remains at large.


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been engaged in a criminal insider trading scheme in which

Demane provided Nikas with inside information.         It is

uncontroverted that Lavidas’s father was a member of Ariad’s

board, which gave Lavidas’s father access to inside information

about Ariad.   It also is undisputed that Nikas and Lavidas had

been extremely close friends and remained close friends

throughout the period of the insider trading scheme described in

the indictment.   Indeed, Lavidas was staying in Nikas’s New York

apartment this Fall when he was arrested.

     There is also no basis to find that Demane, who will

testify at trial, was mistaken about who Nikas was referring to

as his source of information about Ariad.        As just noted,

Lavidas’s father had access to that information and at least the

beginnings of this conversation between Demane and Nikas took

place just after a dinner in which Nikas introduced Demane to

Lavidas.   It appears from the 302 that Demane’s telephone

contains Lavidas’s telephone number.

     There will also be strongly corroborating evidence offered

at trial that Nikas obtained inside information about Ariad on

four separate occasions, and passed inside information about

Ariad on to Demane on at least two occasions.         The Government

intends to show that Nikas tipped at least eight sets of traders

about Ariad and that these remote traders benefitted by trading




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on that inside information. 6    While the defense promises to

challenge the strength of the inferences of improper knowledge

which can be drawn from the patterns of this trading, it remains

true that there is probable cause to believe (as reflected in

the indictment) that Nikas and others benefitted from trading on

Ariad inside information on four separate occasions.

     Finally, the circumstances that often undermine the

reliability of statements incriminating others are absent here.

These are not statements made to government authorities with a

motive to curry favor.    These are statements to a friend in the

midst of their own insider trading scheme.        Nor are these

statements in which Nikas is incriminating Lavidas while

exculpating himself.    By these statements, Nikas places himself

in the middle of the criminal scheme with Lavidas, promising to

pass on tips to Demane.

     The defendant principally argues that the conversation is

unreliable because it is mere puffery and too much time passed

before there was any insider trading allegedly based on

Lavidas’s tips.   But, neither the possibility of puffery nor the

passage of time between the 2011 conversation and the first

trading in 2013, over two years later, fatally undermines this

corroboration.


6 The defendant’s motion to exclude this trading information has
been denied.


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     It is of course possible that, without Lavidas having

agreed to tip Nikas about Ariad’s confidential information,

Nikas was simply bragging to Demane.      Since Nikas was receiving

tips from Demane, Nikas may have been tempted to brag that he

had his own access to inside information, which he would share

with Demane.   While the defense is free to make such an argument

to the jury, there at least two difficulties with passing off

the conversation as mere braggadocio.

     First, by introducing Demane to his source and explaining

that he had access to Ariad’s confidential information, Nikas

placed himself in a vulnerable position.       Demane would want to

know why Nikas did not obtain and share confidential information

with him whenever advance knowledge of Ariad’s business plans

would provide opportunities for profit.       Without a reasonable

explanation, Nikas risked losing Demane as a source of

information.

     Second, Nikas’s repeated profitable trading in Ariad is

powerful corroborating evidence of the truth of Nikas’s

statements to Demane and Nikas’s own reliability.         The truth of

these statements is further confirmed by Nikas’s tipping of

other traders, including Demane, and their profitable trading in

Ariad securities on the basis of these tips.

     Similarly, the passage of two years between Nikas’s alleged

statements to Demane and Nikas’s first trading in Ariad does not


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render Nikas’s statements untrustworthy.       After all, nearly two

years passed between Lavidas’s alleged third tip to Nikas in

December 2013 and his next and final tip in August 2015.          The

passage of two years between Nikas’s statement and Lavidas’s

first tip is, in fact, consistent with the pattern of tipping

alleged in the indictment.     And once again, this is not a case

in which there is an allegation of just a single occasion of

insider trading.   If the Government succeeds in proving at trial

that Nikas was in possession of and traded on material non-

public information about Ariad on four entirely separate

occasions, this is strong corroboration that he obtained that

information from the very source that he identified to Demane.

     For these reasons, Nikas’s statements are admissible under

Rule 804(b)(3).    The defense is free, of course, to test Nikas’s

credibility and the inferences that can be drawn from these

statements at trial.

                              Conclusion

     The Government’s December 11, 2019 motion to admit Nikas’s




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statements to Demane is granted.        Lavidas’s December 11 motion

to exclude these statements is denied.

Dated:    New York, New York
          December 30, 2019


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                                        DENISE COTE
                                 United States District Judge




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